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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      No. 1:21-cr-00358-EGS
                v.                           :
                                             :
HOWARD BERTON ADAMS,                         :
                                             :
                       Defendant.            :


             MOTION FOR REMOTE (ZOOM) APPEARANCE AT HEARING

      COMES NOW, the undersigned attorneys, and files this Motion for Remote (Zoom)
Appearance at Hearing in the above-styled action and would state as follows:

       1.       A hearing has been scheduled in this matter on November 10, 2022, at 11:30 a.m.
                on the undersigned counsels’ Unopposed Motion to Withdraw as Attorney
                (docket #33) and Defendant’s pro se Motion to Dismiss Case (docket #34).

       2.       The undersigned defense attorneys request permission to appear remotely (via
                Zoom) during the above-referenced hearing.

       3.       The undersigned counsel of Buckmaster and Ellzey, Jeremy J. Buckmaster and
                Brian A. Cantrell, practice in the State of Florida and are sponsored by Pro Hac
                Vice counsel, Charles Haskell.

       4.       The undersigned counsel filed a Motion to Allow Withdrawal of Counsel on June
                15, 2022.

       5.       The Defendant filed, pro se, a Notice of Immediate Termination of Counsel on
                August 25, 2022.

       6.       The undersigned counsel of Buckmaster and Ellzey and the Defendant have
                appeared remotely at all formerly held status conference hearings.

       7.       The Defendant will not be prejudiced by the undersigned appearing remotely.

       8.       Assistant United States Attorney, Michael Liebman, has been contacted and has
                no objection to allowing the undersigned to appear remotely.

        WHEREFORE, the undersigned attorneys respectfully requests that the Court grant the
request to appear remotely for the hearing scheduled on November 10, 2022 at 11:30 a.m. in this
matter.
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                               CERTIFICATE OF SERVICE

      I certify that a copy of this document was electronically served via the E-Filing Portal to
Michael Liebman, Assistant United States Attorney, on October 25, 2022.



                                            Respectfully Submitted,

                                            Buckmaster and Ellzey


                                            /s/ Jeremy J. Buckmaster
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                                            /s/ Brian A. Cantrell
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                                            /s/ Charles Haskell
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